            Case 1:23-cv-04805-LGS Document 9 Filed 07/24/23 Page 1 of 1
                                                                         100 Duffy Ave., Suite 510

                                                                         Hicksville, NY 11801

                                                                         Tel.: 929.324.0717

Mars Khaimov Law, PLLC                                                   Fax: 929.333.7774

                                                                         E-mail: mars@khaimovlaw.com

  VIA ECF                       Application GRANTED. The conference scheduled for August 2, 2023, is
  Honorable Lorna G. Schofield ADJOURNED to September 6, 2023, at 4:10 P.M. The conference will be
  United States District Judge  telephonic and will take place on the following line: 888-363-4749; access
  Southern District of New York code: 558-3333. The parties shall file the joint status letter and proposed case
  40 Foley Sq.                  management plan by August 30, 2023. Plaintiff shall serve this Order and the
  New York, NY 10007            Complaint on Defendant via Federal Express and file proof of service on ECF
                                by July 26, 2023. So Ordered.
         Re:     Case 1:23-cv-04805-LGS Alexandria v. Moonglow, Inc. Dated: July 24, 2023
                 Status Report                                                   New York, New York


  Dear Judge Schofield:

         This letter is submitted in response to the Order dated July 20, 2023 (Dkt. No. 7).
  Defendant’s time to answer herein expired in July 17, 2023, pursuant to the proof of service filed
  on June 27, 2023 (Dkt. No. 6). This office has not been in communication with this Defendant,
  although we will continue to attempt to contact the Defendant informally via telephone and e-mail.
  No such contact has been made yet besides service of the summons and complaint.

          As such, Plaintiff respectfully requests an adjournment of the initial conference date of
  August 2, 2023 to allow time for the Defendant to appear, or for Plaintiff to seek a default judgment
  in the alternative. Plaintiff requests a new conference date of September 8, 2023. This is the first
  time this relief is being requested.



                                                        Respectfully submitted,


                                                        Mars Khaimov, Esq.
                                                        Attorney for Plaintiff
